 Case 2:23-cv-11597-BRM-CI ECF No. 87, PageID.956 Filed 11/20/24 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

ELIZABETH NELSON, and
ALBERT THROWER

      Plaintiffs,                                 Case No. 2:23-cv-11597
                                                  Hon. Brandy R. McMillion
v.                                                Mag. Judge Curtis Ivy, Jr.

ROBERT SCOTT, et. al.,

          Defendants.
_________________________________/


                                 JUDGMENT

      IT IS ORDERED AND ADJUDGED that pursuant to this Court’s Order

Adopting the Recommended Disposition of the Magistrate Judge’s Report and

Recommendation (ECF No. 86), entered on this date, this cause of action is

DISMISSED.



                                            KINIKIA ESSIX
                                            CLERK OF COURT
                                            By: s/L. Hosking
                                            Deputy Clerk
Approved:
/s Brandy R. McMillion
BRANDY R. MCMILLION
United States District Judge
Dated: November 20, 2024
Detroit, Michigan
